




Becker v. State



COURT OF APPEALS


EIGHTH DISTRICT OF TEXAS


EL PASO, TEXAS



)
	

ROBERT MARQUEZ,)
		   No. 08-04-00028-CR

)


			Appellant,)
			Appeal from

)
	

v.)
		     143rd District Court

)


THE STATE OF TEXAS,)
		  of Ward County, Texas

)


			Appellee.)
		 (TC# 97-06-3943-CRW)


MEMORANDUM OPINION



	Pending before the Court is Appellant's motion to dismiss this appeal pursuant to
Tex.R.App.P. 42.2(a), which states that:

	(a)  At any time before the appellate court's decision, the appellate court may dismiss
the appeal if the party that appealed withdraws its notice of appeal--by filing a written
withdrawal in duplicate with the appellate clerk, who must immediately send the
duplicate copy to the trial court clerk.  An appellant must personally sign the written
withdrawal.

	As required by the rule, the withdrawal of the notice of appeal is signed by Appellant. 
Further, the Clerk of this Court has forwarded a duplicate copy of the written withdrawal to the clerk
of the trial court.  Because Appellant has established compliance with the requirements of Rule
42.2(a), we grant Appellant's motion to dismiss.  The appeal is hereby dismissed.


May 13, 2004						                                                                         

							ANN CRAWFORD McCLURE, Justice

Before Panel No. 2

Barajas, C.J., McClure, and Chew, JJ.


(Do Not Publish)


